Case 2:17-cr-00457-SVW Document 69 Filed 05/03/21 Page 1 of 2 Page ID #:338



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  8                                UNITED STATES DISTRICT COURT
  9                               CENTRAL DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,                     ) CASE NO.: CR 17-457-SVW
                                                    )
 12           Plaintiff                             ) AMENDED JUDGMENT AND
                                                    ) COMMITMENT ORDER
 13           vs.                                   )
                                                    )
 14   JAMES ROBERT SHECKLES,                        )
                                                    )
 15           Defendant.                            )
                                                    )
 16
 17           WHEREAS, on May 3, 3021, came the attorney for the government, Jeffrey Chemirinsky,
 18   and the defendant appeared via video with Deputy Federal Public Defender Howard Shneider,
 19   appointed counsel; and the Court having held a preliminary revocation of supervised release hearing
 20   on the allegations as set forth in the Petition on Probation and Supervised Release filed January 20,
 21   2021 and April 6, 2021.
 22           WHEREAS, on May 3, 2021, the defendant having admitted allegations 1, 3 and 5, the Court
 23   finds that the defendant violated the conditions of the supervised release order imposed on June 4,
 24   2018.
 25           IT IS ADJUDGED, upon the findings of the Court, supervised release is revoked, vacated,
 26   and set aside. The defendant is committed to the custody of the Bureau of Prisons for a period of
 27   FOURTEEN (14) MONTHS.
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Case 2:17-cr-00457-SVW Document 69 Filed 05/03/21 Page 2 of 2 Page ID #:339



  1          Upon release from confinement, the defendant shall be placed on supervised release for a
  2   period of 22 months, under the same terms and conditions as originally ordered with the following
  3   special conditions:
  4          1.      The defendant shall comply with the rules and regulations of the United States
  5                  Probation & Pretrial Services Office and the Second Amended General Order 20-04.
  6          2.      During the course of supervision, the Probation Officer, with the agreement of the
  7                  defendant and defense counsel, may place the defendant in a residential drug
  8                  treatment approved by the United States Probation Office for treatment of narcotic
  9                  addition or drug dependency, which may include counseling and testing, to
 10                  determine if the defendant has reverted to the use of drugs, and the defendant shall
 11                  reside in the treatment program until discharged by the Probation Director and
 12                  Probation Officer.
 13          The Court recommends the defendant be housed a FCI Terre Haute.
 14          The defendant is advised of his right to appeal.
 15          IT IS ORDERED that the Clerk deliver a copy of this judgment modifying supervised release
 16   to the U.S. Marshal and the U.S. Probation Office, or other qualified officer.
 17
 18   DATE: May 3, 2021
                                                                  STEPHEN V. WILSON
 19                                                               UNITED STATES DISTRICT JUDGE
 20
 21   DATE: May 3, 2021
                                                                  KIRY K. GRAY, CLERK OF COURT
 22
 23                                                        by    /s/ G. Garcia
                                                                Gabriela Garcia, Deputy Clerk
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